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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY


 JAMES J. ROBINSON,

                   Plaintiff,

        v.                                         Case No. 4:17-CV-164-JHM-HBB

 THE PRUDENTIAL INSURANCE
 COMPANY OF AMERICA,

                   Defendant.



                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff James J. Robinson and Defendant The Prudential Insurance Company of

 America, by and through their respective undersigned counsel and pursuant to a Settlement

 Agreement between the parties, hereby stipulate and agree that this action shall be DISMISSED

 WITH PREJUDICE. Further, each party will bear its own costs, expenses and attorneys' fees.




                                                                            May 21, 2018
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 DATED: May 10, 2018                       Respectfully submitted,
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